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                             UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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    8   ERIKA MALDONADO, an individual,              Case No: 5:22-cv-00941-MWF(KKx)
    9                   Plaintiff,                   ORDER GRANTING
                                                     STIPULATION OF DISMISSAL
   10         vs.
   11   MERCEDES-BENZ USA, LLC, a
        Delaware Limited Liability Company,
   12   and DOES 1 through 10, inclusive,
   13
                       Defendants.
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              Based on the parties’ Stipulation of Dismissal (Docket No. 24), and for good

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        cause shown, the Stipulation is approved. The entire action, including all claims

   18
        and counterclaims stated herein against all parties, is hereby ORDERED dismissed

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        with prejudice, each side to bear its own costs and attorney’s fees.

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              IT IS SO ORDERED.

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   22   Dated: April 7, 2023
                                               MICHAEL W. FITZGERALD
   23                                          United States District Judge
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                                ORDER GRANTING STIPULATION OF DISMISSAL
